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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 MATTHEW GREEN et al.,                          )
                                                )
                 Plaintiffs,                    )
                                                )
        v.                                      )   Civil Action No.: 1:16-cv-1492-EGS
                                                )
 U.S. DEPARTMENT OF JUSTICE et al.,             )   Judge: Emmet G. Sullivan
                                                )
                  Defendants.
                                                )
                                                )


                                    JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of February 9, 2023, the parties hereby submit this

Joint Status Report. The parties have met and conferred but have not yet agreed on a proposal

regarding further proceedings in light of the mandate of the United States Court of Appeals for the

District of Columbia Circuit. See ECF No. 59. In order to allow for further consideration and

conferral, the parties respectfully recommend that the Court order them to submit another Joint

Status Report in two weeks.



 March 9, 2023                                Respectfully submitted,

                                                     /s/ Brian M. Willen
                                              Brian M. Willen (D.C. Bar No. 490471)
                                              WILSON SONSINI GOODRICH & ROSATI
                                              Professional Corporation
                                              1301 Avenue of the Americas, 40th Floor
                                              New York, NY 10019
                                              Tel: (212) 999-5800
                                              Fax: (212) 999-5800
                                              Email: bwillen@wsgr.com

                                              Attorneys for Plaintiffs
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                            BRIAN M. BOYNTON
                            Acting Assistant Attorney General
                            ERIC R. WOMACK
                            Assistant Director, Federal Programs Branch

                                   /s/ Kathryn L. Wyer
                            Kathryn L. Wyer
                            U.S. DEPARTMENT OF JUSTICE
                            Civil Division Federal Programs Branch
                            1100 L Street, N.W., Room 12014
                            Washington, D.C. 20005
                            Tel: (202) 616-8475
                            Fax: (202) 616-8470
                            Email: kathryn.wyer@usdoj.gov

                            Attorneys for Defendants
